                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                     )         COLLIER/CARTER
                                             )
       v.                                    )         CASE NO. 1:13-CR-141
                                             )
MARTELL L. JONES                             )



                                           ORDER

       On June 17, 2014, Magistrate Judge William B. Mitchell Carter filed a Report and

Recommendation recommending (a) the Court accept Defendant=s plea of guilty to Counts Two

and Five of the Indictment in exchange for the undertakings made by the government in the written

plea agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in Counts Two

and Five of the Indictment; (c) that a decision on whether to accept the plea agreement be deferred

until sentencing; and (d) Defendant shall remain in custody pending sentencing in this matter

(Court File No. 44). Neither party filed an objection within the given fourteen days. After

reviewing the record, the Court agrees with the magistrate judge=s report and recommendation.

Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge=s report and

recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

       (1) Defendant=s plea of guilty to Counts Two and Five of the Indictment, in exchange for

the undertakings made by the government in the written plea agreement, is ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Counts Two and

Five of the Indictment;

       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

and




Case 1:13-cr-00141-TRM-CHS           Document 49       Filed 07/21/14      Page 1 of 2     PageID
                                           #: 107
      (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday,

September 25, 2014, at 2:00 pm.

      SO ORDERED.

      ENTER:

                                                 /s/____________________________
                                                 CURTIS L. COLLIER
                                                 UNITED STATES DISTRICT JUDGE




                                          2


Case 1:13-cr-00141-TRM-CHS        Document 49     Filed 07/21/14   Page 2 of 2   PageID
                                        #: 108
